                          Case 5:25-cv-03431-NC           Document 8     Filed 04/23/25     Page 1 of 2




                   1                                   UNITED STATES DISTRICT COURT

                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                   3
                            Summit Industrial
                   4        Solutions LLC                                           5:25-cv-03431-NC
                                                                          Case No. ------------
                                       Plaintiff(s),
                   5
                                                                          APPLICATION FOR ADMISSION OF
                                  V.                                      ATTORNEY PRO HAC VICE
                   6
                            Schenzhen Smoore                              (CIVIL LOCAL RULE 11-3)
                   7        Technology Co LTD et al
                                      Defendant(s).
                   8

                  9
                  10             Bailey Twyman-Metzger_, an active member in good standing of the bar of
                              I, _________

                  11     Minnesota
                       _____________, hereby respectfully apply for admission to practice pro hac


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       12  �                                                                      Plaintiff
                       vice in the Northern District of California representing: ____________ in the
                                                                                   Dennis Stewart
                       above-entitled action. My local co-counsel in this case is ___________     _, an
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..... �
.B ;2
           -      14   attorney who is a member of the bar of this Court in good standing and who maintains an office
 rJJ
.....      0
Ou                15                                                                      99152
                       within the State of California. Local co-counsel's bar number is: --------
 ·5
  rJJ

 "'d
  II)
       .....rJJ
 ..... Q          16    120 S. 6th St., Suite 2600                         600 W. Broadway, Suite 3300
�s                17
                        Minneapolis, MN 55402                              San Diego, CA 92101
  ..c=
  II)
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           II)
                        MY ADDRESS OF RECORD                               LOCAL CO-COlJNSEL'S ADDRESS OF RECORD
8 z'g             18      (612) 888-3344                                     (619) 595-3299
                        MY TELEPHONE# OF RECORD                            LOCAL CO-COUNSEL'S TELEPHONE# OF RECORD
                  19
                        btwymanmetzger@gustafsongluek.com                       dstewart@gustafsongluek.com
                  20    MY EMAIL ADDRESS OF RECORD                         LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD

                  21

                  22          I am an active member in good standing of a United States Court or of the highest court of
                  23                                                                                     400179
                       another State or the District of Columbia, as indicated above; my bar number is: _____   _
                  24          A true and correct copy of a certificate of good standing or equivalent official document
                  25   from said bar is attached to this application.
                  26          I have been granted pro hac vice admission by the Court _0__ times in the 12 months
                  27   preceding this application.
                  28
                          Case 5:25-cv-03431-NC           Document 8         Filed 04/23/25    Page 2 of 2




                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                   4   Dated: -4/23/25                                                 /s/Bailey Twyman-Metzger
                               -------
                                                                                     APPLICANT
                   5

                   6

                   7

                   8                                  ORDER GRANTING APPLICATION

                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                  10

                  11                                                         Bailey
                                IT IS HEREBY ORDERED THAT the application of _ __   Twyman-Metzger
                                                                                     _ _ _ _ _ _ is

            ~     12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
 ~
  0
           ·st8   13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
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  .....
 .....      ~

.B;2              14   counsel designated in the application will constitute notice to the party.
.....
  rJJ       0
Ou                15   Dated:
                                ----------
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  II)
           ·5
            rJJ
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 ..... Q          16
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  II)       II)
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8 z'g             18
                                                                  UNITED STATES DISTRICT/MAGISTRATE illDGE

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                       Updated 11/2021                                   2
